Case Case:
     3:17-cv-00939-WHA
           17-2253      Document
                     Document: 5 765-5
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                                                   06/30/2017




                NOTE: This order is nonprecedential.


        United States Court of Appeals
            for the Federal Circuit
                       ______________________

                           WAYMO LLC,
                          Plaintiff-Appellee

                                  v.

       UBER TECHNOLOGIES, INC., OTTOMOTTO LLC,
                OTTO TRUCKING LLC,
                     Defendants

                    ANTHONY LEVANDOWSKI,
                       Defendant-Appellant
                      ______________________

                          2017-2235, -2253
                       ______________________

         Appeals from the United States District Court for the
      Northern District of California in No. 3:17-cv-00939-
      WHA.
                      ______________________

                           ON MOTION
                       ______________________

      PER CURIAM.
                             ORDER
          Anthony Levandowski appeals from an order of the
      district court requiring production of allegedly privileged
      records. Mr. Levandowski moves to consolidate this
Case Case:
     3:17-cv-00939-WHA
           17-2253      Document
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                                                   06/30/2017



      2                      WAYMO LLC    v. UBER TECHNOLOGIES, INC.



      appeal with his closely related appeal, Appeal No. 2017-
      2235, and moves to stay production of the documents in
      question here pending appeal.
            Upon consideration thereof,
            IT IS ORDERED THAT:
          (1) The motion to consolidate 2017-2235 and 2017-
      2253 is granted. The revised official caption is reflected
      above. Mr. Levandowski is directed to file only one open-
      ing brief/petition for a writ of mandamus. The briefing
      schedule set forth in this court’s June 29, 2017 order in
      2017-2235 shall remain in effect.
           (2) Waymo LLC is directed to file a single response to
      the motions for a stay and Mr. Levandowski is directed to
      file a single reply. The briefing schedule for the motion
      for a stay set forth in this court’s June 29, 2017 order in
      2017-2235 shall remain in effect.
          (3) The district court’s order requiring production of
      the records in question in 2017-2253 is temporarily stayed
      pending this court’s consideration of the motions papers.
                                          FOR THE COURT

                                           /s/ Peter R. Marksteiner
                                           Peter R. Marksteiner
                                           Clerk of Court
      s32
